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     LG DISPLAY AMERICA, INC. AND LG
12   DISPLAY CO., LTD

13

14                              UNITED STATES DISTRICT COURT
15                           NORTHERN DISTRICT OF CALIFORNIA
16
     IN RE TFT-LCD (FLAT PANEL) ANTITRUST           CASE NO. 3:07-MD-1827 SI
17   LITIGATION
                                                    MDL No. 1827
18   THIS DOCUMENT RELATES TO:
                                                    DEFENDANT LG DISPLAY’S
19   All Indirect Purchaser Actions                 MOTION IN LIMINE NO. 1 TO
                                                    EXCLUDE PURPORTED EXPERT
20                                                  TESTIMONY

21                                                  Date:           March 27, 2012
                                                    Time:           3:30 p.m.
22                                                  Courtroom:      10
                                                    Judge:          Honorable Susan Illston
23

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                                                                 DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                         PURPORTED EXPERT TESTIMONY.
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 1                                NOTICE OF MOTION AND MOTION
 2           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
 3           PLEASE TAKE NOTICE that on March 27, 2012, at 3:30 p.m., or as soon as may be
 4   heard thereafter, in the United States District Court for the Northern District of California, located
 5   at 450 Golden Gate Avenue, Courtroom 10, 19th Floor, San Francisco, California, before the
 6   Honorable Susan Illston, defendants LG Display, Co., Ltd. and LG Display America, Inc.
 7   (collectively “LG Display”) will and hereby do move the Court for an order in limine to exclude
 8   the following potential testimony and evidence from the designated economics/damages experts
 9   of the indirect purchaser class plaintiffs (“Plaintiffs”):
10           (1)     purported “expert” evidence regarding non-expert issues, such as the intent
11                   of Defendants and the meaning of particular documents;
12           (2)     expert damage estimates that rely in part on transactions that the Court has
13                   previously removed from consideration in this case; and
14           (3)     cumulative expert testimony, in which both of Plaintiffs’ experts offer
15                   opinions on the very same subject.
16   LG Display also requests an evidentiary hearing outside the presence of the Jury prior to the
17   testimony of either of Plaintiffs’ expert to determine whether and to what degree the expert’s
18   testimony remains admissible.
19           This motion is based upon this Notice of Motion and Motion, the attached Memorandum
20   of Points and Authorities; the concurrently-filed Declaration of Stuart N. Senator; any reply
21   memorandum that is filed, any argument of counsel; and such other materials as the Court may
22   consider. As set forth in the accompanying Memorandum of Points and Authorities, the basis for
23   the motion is that the testimony at issue would be beyond the scope of admissible expert opinions,
24   without foundation, and cumulative.
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                                                  -1-                    DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                 PURPORTED EXPERT TESTIMONY.
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          By this motion, LG Display request that the Court exclude purported expert testimony of
 4   the economists/damages experts retained by the indirect purchaser class plaintiffs (“Plaintiffs”),
 5   Janet Netz and William Comanor (“IPP Experts”), as follows:
 6          (1)     Dr. Netz’s and Dr. Comanor’s opinion about the intent, motive or state of
 7                  mind of Defendants, as well as these experts’ personal interpretations of
 8                  documents and deposition testimony contained in the record and opinions
 9                  based upon the foregoing.
10          (2)     Dr. Netz’s and Dr. Comanor’s damage estimates that rely in part on
11                  transactions that the Court has previously removed from consideration in
12                  this case and
13          (3)     Cumulative expert testimony, in which both of Plaintiffs’ experts offer
14                  opinions on the very same subject.
15          On the first issue, a defendant’s intent and state of mind have never been a permissible
16   subject of expert testimony. Lowe v. City of Monrovia, 775 F.2d 998, 1008-09 (9th Cir. 1985);
17   DePaepe v. Gen. Motors Corp., 141 F.3d 715, 720 (7th Cir. 1998). Moreover, it is impossible to
18   tell from Dr. Netz’s report where her mind reading effort ends and her potentially legitimate
19   analysis begins. Because Dr. Netz’s improper “expert” opinions about the underlying evidence in
20   this case irrevocably taint her conclusion that direct purchasers suffered common impact, this
21   Court should bar that conclusion.1 Without evidence of direct impact, Dr. Netz’s opinions with
22   regard to indirect purchaser impact lose foundation as well, because common impact to the direct
23   purchasers is a necessary prerequisite to common indirect purchaser impact.
24          LG Display acknowledges of course that the Court denied Defendants’ recent Daubert
25   motion to exclude Janet Netz’s and William Comanor’s (the “IPP Experts”) testimony that their
26   “before -and-after” regression models establish common impact to direct purchasers. But the
27
     1
      Dr. Comanor conducts a similarly impermissible analysis, and his testimony regarding common
28   impact to direct purchasers should be excluded on the same basis.
                                               -2-                     DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                  PURPORTED EXPERT TESTIMONY.
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 1   Court acknowledged that Defendants’ concerns about the models were “not wholly without
 2   merit” and held that “[w]hen the experts’ specific testimony is before the Court, defendants may
 3   renew their objections.” Order Denying Defendants’ Motion to Exclude Expert Testimony of
 4   Janet S. Netz and William S. Comanor at 7:19 , 8:9-10 (Feb. 21, 2012) (Dkt. No. 4848) (“Order
 5   (Dkt. No. 4848)”). The Court also based its denial of the Daubert motion on the fact that Dr.
 6   Netz relied on her “analysis of evidence in this case” to prove common impact to direct
 7   purchasers. Id. at 9:17-18 & 10:18-20. As shown below, Dr. Netz’s “analysis” in this regard is
 8   itself inadmissible because it is no more than reading documents and testimony; it is not expert
 9   analysis.
10          On the second issue, the IPP Experts estimated damages in this case by attempting to
11   calculate the volume of LCD product sales to class members (the “volume of commerce” or
12   “VOC”) during the class period. In doing so, they ignored this Court’s prior rulings by including
13   in their VOC estimates transaction categories that the Court has expressly removed from this
14   case. Because the IPP Experts use their VOC estimates to establish the amount of the Indirect
15   Purchaser Plaintiffs’ total damages, the overstated VOC calculations have necessarily inflated the
16   IPP Experts’ damage calculations. Despite ample opportunity, the IPP Experts have never
17   corrected their calculations, and with trial only five weeks away it is now too late. This Court
18   should therefore exclude Dr. Netz’s and Dr. Comanor’s damage estimates as lacking foundation.
19          On the third issue, Dr. Netz and Dr. Comanor’s opinions also significantly overlap. The
20   Court should preclude the introduction of such cumulative evidence and require that the IPPs
21   immediately pick which expert will testify on which subjects.
22          Finally, because the IPP Experts’ opinions that the indirect purchasers’ paid an overcharge
23   depend on their inadmissible direct purchaser impact opinions; and because the IPP Experts’
24   damages opinions should likewise be precluded, a serious question arises as to exactly what either
25   expert could actually testify about. LG Display requests an evidentiary hearing outside the
26   presence of the jury before either expert is permitted to testify to determine whether and to what
27   extent the expert’s opinions remain admissible.
28
                                                -3-                     DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                PURPORTED EXPERT TESTIMONY.
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 1   II.     ARGUMENT
 2           A.      This Court Should Preclude Any So-Called “Expert” Opinions About
                     Defendants’ Intent or the “Correct” Interpretation of Documents and
 3                   Deposition Testimony
 4                   1.      Opinions About Defendants’ Intent, Motive and State of Mind Should
                             Be Excluded
 5
             Intent issues are a “pure question of fact” left for the jury to decide. Lowe v. City of
 6
     Monrovia, 775 F.2d 998, 1008-09 (9th Cir. 1985). A witness may “not testify as an expert that
 7
     [the defendant] had a particular motive” because experts “lack[] any scientific basis for an
 8
     opinion about [such] motives.” DePaepe v. Gen. Motors Corp., 141 F.3d 715, 720 (7th Cir.
 9
     1998). Courts routinely exclude expert opinions “on the intent, motives or states of mind of
10
     corporations.” In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004)
11
     (rejecting expert testimony as to “the ‘real motive’ behind certain business transactions”).2
12
             Notwithstanding this law, Dr. Netz’s report shows that she is prepared to testify in this
13
     litigation on the subject of defendants’ “intent” and “purpose” in order to support her opinion that
14
     direct purchasers suffered common impact. For example, in the section of her report titled “The
15
     cartel increased prices to direct purchasers,” Senator Decl., Ex. A (Netz Report at 29), Dr. Netz
16
     states that “the meetings between Defendants were held with the intent of either increasing prices
17
     for TFT-LCD panels or keeping prices from falling.” Id. at 40 (emphasis added). Likewise, in
18
     the same section Dr. Netz states that “the intent of Defendants’ meetings was to have an effect
19
     on the prices for the TFT-LCD panels used in all the products at issue.” Id. at 41 (emphasis
20
     added). At other places in her report, Dr. Netz likewise purports to opine on Defendants’ intent,
21
     even though she does not use the word “intent.” For example:
22
             •    “Defendants purposefully re-allocated inputs in order to change [that is, with
23
     2
       See also, e.g., SEC v. Lipson, 46 F. Supp. 2d 758, 763 (N.D. Ill. 1998) (“[An expert’s] years of
24   training and experience as an accountant . . . do not specially equip him to divine what Defendant
     truly believed about the reliability of [his employer’s internal financial] reports.”); Bracco
25   Diagnostics, Inc. v. Amersham Health, Inc., 627 F. Supp. 2d 384, 440 (D.N.J. 2009) (expert
     cannot “purport[] to divine what GEH was ‘trying’ to do with its marketing strategy”); Bowers v.
26   Nat’l Collegiate Athletic Ass’n, 564 F. Supp. 2d 322, 358 (D.N.J. 2008) (expert “does not have a
     reliable basis from which to testify about the assumptions and attitudes that motivated the
27   NCAA’s decisions”); United Nat’l Ins. Co. v. Aon Ltd., No. 04-539, 2008 WL 3819865, at *13
     (E.D. Pa. Aug. 8, 2008) (expert’s experience does not give him “license to theorize on what may
28   have been in the arbitrators’ heads with the level of reliability that Daubert requires”).
                                                -4-                        DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
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 1              the intent of changing] the product mix to reduce the supply of specific types
                of panels, or increased their inventories to reduce the supply of panels on the
 2              market.” Id. at 39-40 (emphasis added).
 3          •   “Defendants communicated . . . to engage [that is, with the intent of
                engaging] Co-conspirators to follow the agreements they reached at the
 4              meetings.” Id. at 37 (emphasis added).3
 5
            Dr. Netz also purports to offer opinions on Defendants’ state of mind to support her
 6
     conclusion of common impact to direct purchasers: “Defendants were aware that reductions in
 7
     supply and in capacity would result in increased prices and greater profitability.” Id. at 38.
 8
            In each instance, the stated basis for Dr. Netz’s assertion is merely a reading of certain
 9
     deposition testimony and documents produced in discovery. There is no economic analysis that
10
     might be argued to be within Dr. Netz’s purported expertise as an economist.
11
            This is improper. Neither Dr. Netz nor Dr. Comanor is a “mindreader.” Sassafras
12
     Enters., Inc. v. Roshco, Inc., 915 F. Supp. 1, 8 (N.D. Ill. 1996). The Experts’ conclusions are not
13
     appropriate expert testimony. “If the witnesses’ bases for the opinions concerning improper
14
     intent come from other evidence such as letters, admissions of [the defendant’s] officers or
15
     employees, or other admissible evidence, that is what the jury should hear and the question of
16
     [the defendant’s] intent would flow from such evidence to be determined by the jury.” In re Diet
17
     Drugs Prods. Liab. Litig., No. MDL 1203, 2000 WL 876900, at *9 (E.D. Pa. June 20, 2000)
18
     (emphasis in original).
19
            While all of this would be true for any expert’s conclusion based on analysis (or lack
20
     thereof) that is not within the expert’s area of purported expertise, it is especially true with respect
21
     to conclusions regarding a person or company’s intent. The “question of intent is a classic jury
22
     question and not one for the experts.” In re Rezulin, 309 F. Supp. 2d at 547 (prohibiting expert
23
     from testifying that a drug was taken off the market for safety reasons because company’s
24
     chairman allegedly said so in a letter). Dr. Netz and Dr. Comanor “propose improperly to assume
25

26   3
       Dr. Comanor does the same thing: Defendants “form[ed] a cartel whose apparent purpose [that
     is, intent] was to limit the pace of capital formation sufficiently to achieve higher prices.”
27   Senator Decl., Ex. B (Comanor Report at 13).
28
                                                 -5-                      DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                  PURPORTED EXPERT TESTIMONY.
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 1   the role of advocates for the plaintiffs’ case by arguing as to the intent or motives.” Id. at 546.
 2   The Court should exclude testimony of this sort.
 3                  2.      Neither Expert Has Any Foundation to Opine About the Meaning of
                            Documents and Testimony
 4
            The IPP experts’ reports also suggests that at trial Plaintiffs plan to use their experts to
 5
     explain the meaning of various documents and testimony that counsel sees as the most important
 6
     evidence in the case. Dr. Netz’s report is replete with such statements:
 7

 8          •   “Defendants used the information they learned to set their own prices for
                current or future periods.” The only stated basis for this statement is certain
 9              deposition testimony and a particular email. Senator Decl., Ex. A (Netz Report
                at 29 & n.109).
10
            •   “[T]here are indications that the Defendants and Co-conspirators were
11              communicating regarding prices, production, and capacity before 1999.” The
                only stated basis for this statement is certain deposition testimony. Id. at 30.
12

13          •   “Defendants continued to meet regularly from 2001 through 2006.” The only
                stated basis for this statement, and related characterization of what happened at
14              certain meetings is deposition testimony and company documents produced in
                discovery. Id. at 31 & nn.112-115.
15
            •   Dr. Netz describes the so-called Crystal Meetings, including frequency, who
16              attended, what was done at the meetings or in response to information obtained
                at the meetings. The basis for the descriptions is not economic analysis but
17              instead deposition testimony and documents produced in discovery. Id. at 32
                & nn.116-119.
18

19          •   Dr. Netz places the Crystal meetings “in three ‘tiers.’” She states that she does
                this “[b]ased on my reading of the documents.” Id. at 32.
20
            •   Dr. Netz asserts that certain individuals “met once a month” for particular
21              purposes and discussed particular subjects. Dr. Netz’s only stated basis for this
                assertion is her reading of deposition testimony and documents. Id. at 33.
22

23          •   Dr. Netz asserts that lower-level employees “met once a month” and
                exchanged shipment data and discussed future pricing. The only stated basis
24              for the assertion is Dr. Netz’s reading of an email. Id. at 34 & n.125.

25          •   Dr. Netz asserts that attendees at certain meetings “had direct influence on the
                pricing and production levels of LCD panels.” Dr. Netz’s only asserted basis
26              for this statement is her reading of cited deposition testimony and documents.
                Id. at 34 & n.126.
27
            •   Dr. Netz asserts that communications among defendants were “regularly” and
28              “throughout the class period to discuss pricing, production, shipments, and
                                               -6-                     DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                 PURPORTED EXPERT TESTIMONY.
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 1               capacity information as well as product roadmaps.” Dr. Netz’s only asserted
                 basis for this statement is a list of documents produced in discovery. Id. at 35
 2               & Exhibits 23 and 24 thereto.
 3
            •    Dr. Netz asserts that defendants use a “Hot Line to ensure that the target prices
 4               were implemented.” Dr. Netz’s only asserted basis for this assertion is her
                 reading of certain deposition testimony and documents. Id. at 36 & nn.129-
 5               131.

 6          •    Dr. Netz asserts that “[t]here is also evidence that Japanese Defendants were
                 able to pass on information during cross-supply meetings” and “to obtain
 7               competitor pricing to aid them in making their price decisions.” Id. at 36. The
                 cited “evidence” is not economic analysis that Netz has conducted, but instead
 8               merely Dr. Netz’s reading of certain deposition testimony and documents.
 9
            •    Dr. Netz asserts that attendees at meetings “admit that they agreed on actual
10               prices for products or agreed to price movements” and “generally discussed
                 prices for mainstream panels since those were the products with most market
11               shares.” Further, Dr. Netz asserts that the supposedly “[a]greed upon prices
                 were to hold to all customers.” The basis for Dr. Netz’s assertions is, once
12               again, her reading of depositions and documents from discovery. Id. at 37-38
                 & n.135.
13          None of these characterizations or conclusions is appropriate testimony by a purported
14   expert. Proposed testimony by an expert that is no more than argument based upon deposition
15   testimony and documents of which the expert has no personal knowledge is inadmissible. Bracco
16   Diagnostics, 627 F. Supp. 2d at 442. As another federal court has explained:
17
                    Plaintiffs envisioned that [their expert] would testify to and
18                  summarize the relevant facts (as to which he had no personal
                    knowledge) and then opine – or, more accurately, argue – that
19                  defendants were intending to defraud [claimants] . . . . But this is
                    what a lawyer does in his or her summation to the jury. This is not
20                  the function of an expert witness.

21   Lippe v. Bairnco Corp., 288 B.R. 678, 688 (S.D.N.Y. 2003), aff’d, 99 Fed. Appx. 274 (2d Cir.
22   2004). Indeed, Dr. Netz admitted at deposition that she is no more able than a jury to make the
23   sorts of factual determinations that she purports to make from documents and testimony:
24          Q.      My question for you about this particular assertion is, do you believe
                    you’re anymore qualified than the individuals who will sit on the jury in
25                  this case to make a determination that the documents and testimony you’re
                    referring to here show. . . that communication between the attendants of the
26                  Crystal meetings . . . and the Japanese Defendants themselves was
                    frequent?
27
            A.      Do I think I’m more able to make that judgment than a jury member?
28
                                                -7-                      DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                 PURPORTED EXPERT TESTIMONY.
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 1          Q.      Correct.
 2          A.      Not more able. I believe the way a trial will work is there’s no way all
                    those documents and testimony will be presented to the jury, but whatever
 3                  is presented to them, I don’t think that I’m any more capable of not
                    evaluating that particular question.
 4
            Q.       . . . . You’re not holding yourself out as an expert in, for example,
 5                  evaluating the meaning of an e-mail summarizing a meeting, correct?
            A.      Correct.
 6
                    * * *
 7
            Q.      And again, this is, I’m going to ask you the same question I asked you
 8                  earlier, you don’t believe you’re any more qualified than the members of
                    the – the people that will sit on the jury to read these documents that
 9                  you’ve identified and make a conclusion whether or not they suggest the
                    Japanese Defendants were discussing prices with other Defendants, is that
10                  correct?
11          A.      That’s correct.
12   Senator Decl., Ex. C (8/26/2001 Netz Tr. at 182:17-183:14; 187:5-13).
13          The Federal Rules “grant expert witnesses testimonial latitude unavailable to other
14   witnesses on the ‘assumption that the expert’s opinion will have a reliable basis in the knowledge
15   and experience of his discipline.’” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 148 (1999)
16   (quoting Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 592 (1993)). When an expert
17   “cease[s] to apply his specialized knowledge,” he is “no longer testifying as an expert but rather
18   as a lay witness.’” United States v. Freeman, 498 F.3d 893, 902 (9th Cir. 2007). An expert who
19   simply reiterates fact witness testimony will not “assist the trier of fact,” as required by Rule 702,
20   and instead would just be cumulative. People of Territory of Guam v. Turner, No. 91-10612,
21   1992 WL 371316, at *2 (9th Cir. Dec. 16, 1992) (“expert testimony would have been cumulative
22   [of fact witness testimony] and of little additional assistance to the jury”).
23                  3.      The IPP Experts’ Improper Opinions Set Forth Above Are The Basis For
                            Their Conclusion Of Common Impact.
24
            In its Order denying Defendants’ Daubert motion, the Court found that even if Plaintiffs’
25
     experts’ overcharge models “are not enough, standing alone, to establish classwide impact,”
26
     Order (Dkt. No. 4848) at 8:2, Dr. Netz’s use of economic theory and “analysis of evidence in this
27
     case” sufficiently support a conclusion that “the cartel effectively raised prices for direct
28
                                                 -8-                      DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                  PURPORTED EXPERT TESTIMONY.
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 1   purchasers.” Id. at 9:17-18 (citing Expert Report of Janet Netz (“Netz Report”) at 28-87
 2   (emphasis added). As shown above, however, Dr. Netz’s “analysis of evidence in this case” is
 3   not an expert analysis at all. Instead, it is merely an inadmissible personal interpretation of a self-
 4   serving selection of documents and deposition excerpts. Even worse, Dr. Netz’s expert report
 5   offers no means to separate those portions of her impact opinion lacking foundation from those
 6   portions of her impact opinion that may have foundation. Because Dr. Netz cannot be allowed to
 7   testify to her ultimate conclusion that all direct purchasers suffered injury based in part on a series
 8   of inadmissible “lay” opinions about Defendants’ intent and the meaning of documents, this
 9   Court should exclude not just the personal opinions set forth above, but also Dr. Netz’s direct
10   purchaser impact opinions in their entirety. Furthermore, because the direct purchaser impact
11   opinions, in turn, are the basis for the IPP Experts’ opinions about impact on the indirect
12   purchaser class members, the IPP experts’ impact opinions should be excluded in their entirety.
13           B.      This Court Should Also Exclude The IPP Experts’ Damage Estimates As
                     Lacking Foundation
14
                     1.      Dr. Netz Has Failed to Remove Cross-Border Purchases from Her
15                           Volume of Commerce Calculations
16           On a wholly separate basis, Dr. Netz’s damage estimates should also be excluded. Since
17   the Court first certified the IPP classes, those classes have not included cross-border purchases in
18   which the resident of one state bought an LCD product in a different state. See Order Granting
19   Indirect Purchaser Plaintiffs’ Motion for Class Certification at 36 (Mar.28, 2010) (Dkt. No. 1642)
20   (“Class Cert. Order”) (class includes persons who “as residents of [the class state],” purchased
21   LCD products in [the class state] indirectly from one or more of the named Defendants . . . ”)
22   (emphasis added). For example, a resident of Rhode Island who purchased a TV in
23   Massachusetts is not a member of either state’s class and cannot recover.
24           Nevertheless, Dr. Netz failed to subtract cross-border transactions from her estimated
25   volume of commerce. See Senator Decl., Ex. D (6/29/11 Netz Tr. at 92:4-9) (“I did no such
26   adjustment [for cross-border transactions].”); Id., Ex. A (Netz Report at 111-115)7. This
27   necessarily renders her final damage estimate inflated by some unknown, but significant amount.
28   Obviously, Dr. Netz has no foundation to testify about either the estimated VOC or class
                                              -9-                       DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                  PURPORTED EXPERT TESTIMONY.
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 1   members’ estimated damage when Dr. Netz admittedly relied on irrelevant foundational facts—
 2   transactions of persons outside the class—to arrive at her estimates. See Trevino v. Gates, 99
 3   F.3d 911, 922 (9th Cir. 1996) (“[W]here foundational facts demonstrating relevancy ... are not
 4   sufficiently established, exclusion of proffered expert testimony is justified.”).4
 5                   2.      Dr. Netz Failed to Exclude DPP Class Member Transactions from the
                             Volume of Commerce
 6
             Dr. Netz compounded her error when she failed to adjust her calculations after this Court
 7
     redefined the IPP class to exclude members of the DPP class. Compare Order Granting
 8
     Defendants’ Motion to Alter or Amend the Indirect Purchaser Classes at 3 (Jan. 26, 2012) (Dkt.
 9
     No. 4684) (excluding from IPP class “persons and entities whose purchases bring them within the
10
     definition of the certified direct purchaser product class in this Multidistrict Litigation No. 1827
11
     and who did not opt-out of that class”), with Senator Decl., Ex. A (Netz Report at 111-15).
12
             In the same Order, the Court also redefined the Missouri and Rhode Island damages
13
     classes to exclude purchases made for business purposes, yet Dr. Netz again failed to recalculate
14
     damages.5 Id. On a related note, the District of Columbia, Hawaii, Massachusetts, New York
15
     and Vermont consumer protection statutes also restrict application of the statutes to exclude
16
     purchases made for business or resale purposes.6 As a consequence, Dr. Netz should be
17
     precluded from testifying on damages as to Plaintiffs’ consumer protection claims in each of
18
     those states as well.
19

20   4
       Dr. Comanor also did not subtract cross-border transactions from his volume of commerce
     estimate, and this Court should exclude his damage estimate on the same basis.
21   5
       The same is also true of Dr. Comanor.
     6
       See In re TFT-LCD (Flat Panel) Antitrust Litig., 2011 WL 4501223, at *6-7 (N.D. Cal. Sept. 28,
22   2011) (citing Mo. Rev. Stat. § 407.025.1 and R.I. Gen. Laws § 6-13.1-5.2(a)); D.C. Code § 28-
     3901(a)(2) (defining “consumer” “which is primarily for personal, household, or family use”);
23   Haw. Rev. Stat. Ann. § 480-1 (“‘Consumer’ means a natural person who, primarily for personal,
     family, or household purposes, purchases . . .”); Mass. Gen. Laws Ann. ch. 93A, § 9; Frullo v.
24   Landenburger, 814 N.E. 2d 1105, 1112 (Mass. App. Ct. 2004) (plaintiffs have sued under § 9, “a
     plaintiff who acts in a business context has a cause of action exclusively under § 11.”); N.Y. Gen.
25   Bus. Law § 349; Sheth v. N.Y. Life Ins. Co., 709 N.Y.S.2d 74, 75 (N.Y. App. Div. 2001) (§ 349
     “is intended to protect consumers, that is, those who purchase goods and services for personal,
26   family or household use”); Vt. Stat. tit. 9, § 2451(a) (“‘Consumer’ means any person who
     purchases . . . goods . . . not for resale in the ordinary course of his or her trade or business but for
27   his or her use or benefit or the use or benefit of a member of his or her household . . .”).
     Nonetheless, Dr. Netz and Dr. Comanor failed to factor these restrictions into their damages
28   calculations.
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                                                                                     PURPORTED EXPERT TESTIMONY.
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 1          In short, Dr. Netz’s VOC estimates rely on some unknown number (to her or anyone else)
 2   of excluded transactions worth an unknown number of dollars. Nor does Dr. Netz offers any
 3   quantification of the size of these overstatements, nor data that could be used to quantify that
 4   overage. This Court should not permit Dr. Netz to testify to damages that have been exaggerated
 5   by the unjustifiable addition of inadmissible evidence. Dr. Netz’s facially over-inclusive opinions
 6   concerning the volume of commerce or overall damage to the IPP classes should be excluded.
 7   See United States v. Trainor, 477 F.3d 24, 37 (1st Cir. 2007) (including prices outside the relevant
 8   time period “would be misleading and improper.”) (internal quotations excluded); Jaramillo v.
 9   Ford Motor Co., 116 Fed. Appx. 76, 79 (9th Cir. 2004) (case remanded because expert testimony
10   should have been excluded as irrelevant under Rule 402, when that testimony included
11   comparative accident statistics beyond the question before the Court); Biocore v. Khosowshahi,
12   183 F.R.D. 695, 700 (D. Kan. 1998) (excluding aspects of expert damages analysis that
13   overstated value of claims).
14                  3.      The Court Should Exclude Dr. Comanor’s Damages Estimates, Which
                            Are Inflated Even Beyond Dr. Netz’s by the Inclusion of Non-
15                          Defendant Co-conspirator Panels, As Lacking Foundation
16          Because Dr. Comanor relies on the same inadmissible evidence to reach his volume of
17   commerce estimate as Dr. Netz—the inclusion of cross-border purchases, direct purchaser class
18   members, and certain business purchases— the Court should preclude his testimony with regard
19   to volume of commerce and estimated damages as well. Indeed, Dr. Comanor’s conduct with
20   regard to his damage estimates is particularly cavalier. On March 28, 2010, the Court defined the
21   classes to include only persons who indirectly purchased LCD panels “from one or more of the
22   named defendants or Quanta Display Inc.” Class Cert. Order at 36 (emphasis added). A year
23   later, the Court explicitly denied the IPPs’ request to expand the class definitions to include
24   purchasers of coconspirator-made panels. Order Granting in Part and Denying in Part IPPs’ Mot.
25   to Amend Class Cert. Order at 5-6 (July 28, 2011) (Dkt. No. 3198). Dr. Comanor’s reply report
26   came out more than three weeks after the Court’s order described above. Yet he failed to remove
27   nondefendant panel purchasers from his damages calculation. See generally Senator Decl., Ex. B
28   (Comanor Report, Appendix G); Declaration of Hailyn J. Chen in Support of Defendants’ Motion
                                           - 11 -                  DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                PURPORTED EXPERT TESTIMONY.
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 1   to Exclude Expert Testimony of Janet S. Netz and William S. Comanor (Dec. 16, 2011) (Dkt. No.
 2   4380-01), Ex. 20 (Comanor Reply Report (Aug. 21, 2011)). When confronted at deposition, Dr.
 3   Comanor inexplicably insisted that he was “correct” to include damages to nondefendant-panel
 4   purchasers in his calculations despite the Court’s order excluding them from the class. Id., Ex. E
 5   (Comanor Tr. 302:5-21, 347:24-349:11). But it is manifestly not correct to include purchases
 6   made by nonmembers of the class in the estimate of damages to the members of the class. Dr.
 7   Comanor’s testimony regarding volume of commerce and damages should likewise be excluded
 8   as lacking foundation.
 9          C.      Because Dr. Comanor’s Testimony Is Cumulative of Dr. Netz’s Testimony,
                    This Court Should Not Permit Both Experts to Testify and Should Order
10                  Plaintiffs to identify Which Expert Will Testify On Common Subjects
11          In their portion of the Pre-Trial Conference Statement, IPP Plaintiffs describe the subjects
12   on which their two econometric experts will testify in terms that make absolutely clear that the
13   testimony would be largely duplicative:
14                  Janet S. Netz, Ph.D. . . . Dr. Netz has opined extensively on impact
                    and damages to the Indirect Purchaser Plaintiffs. As part of Dr.
15                  Netz’s analyses, she performed empirical and regression studies of
                    the available data from this case, as described in her reports,
16                  showing an overcharge rate for the time period 1999 to 2006
                    applicable to the 24 statewide monetary relief classes of 12.1%, or
17                  $3.226 billion, and in a separate analysis, an overcharge rate for
                    those classes of 10.9% or $2.662 billion. Dr. Netz has also
18                  calculated that the rate of pass-through of the overcharge (that is,
                    the amount of Defendants’ conspiratorial overcharge on LCD
19                  panels that was “passed through” from Defendants to members of
                    the 24 statewide monetary relief classes) was at least 100%.
20
                    William S. Comanor, Ph.D. . . . Dr. Comanor has also opined on
21                  impact and damages to the IPPs. As part of his analyses, he
                    performed regression studies of the available data from this case, as
22                  described in his reports, showing an overcharge rate for the time
                    period 1999 to 2006 applicable to the 24 statewide monetary relief
23                  classes of 8.9%, or $2.27 billion. Dr. Comanor also opined on
                    pass-through, concluding that the rate of pass-through to the IPPs
24                  was at least 100%. As part of his analysis, he reviewed and agreed
                    with Dr. Netz’s work and opinions regarding pass-through.
25

26   Draft of Joint Pre-Trial Conference Statement, draft circulated on March 9, 2012, at 25-26) (“Pre-
27   Trial Conference Statement”). Under Rule 403, the Court has the express authority to limit
28   presentation of cumulative evidence. The Court should exercise that authority here. There is no
                                             - 12 -                  DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                PURPORTED EXPERT TESTIMONY.
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 1   basis for the indirect purchaser plaintiffs to present opinions on the same subject from two
 2   experts. Indeed, the issue is not just that the testimony would be cumulative, but also that it
 3   would be inconsistent, as both experts have opinions on the appropriate overcharge rate and
 4   VOC, but their respective estimates of the overcharge rates and VOC vary significantly, resulting
 5   in damages numbers that differ by hundreds of millions of dollars—as shown directly by
 6   counsel’s own characterizations of the putative experts’ opinions, quoted above. Fed. R. Evid.
 7   403.7
 8           Fundamental fairness dictates that the Court should require the indirect purchaser
 9   plaintiffs to specify now which expert they will call, so that defendants do not need to continue to
10   prepare for trial without knowing which expert will testify. Especially because the substance of
11   the two experts’ opinions differs, the trial preparation will be different depending on which expert
12   testifies.
13           D.      In the Alternative, LG Display Requests an Evidentiary Hearing Outside the
                     Jury’s Presence Prior to Either Expert’s Testimony
14
             The Experts’ opinions regarding common impact to direct purchasers lack foundation.
15
     That necessarily deprives their opinions regarding indirect purchaser impact of foundation as
16
     well. And the experts’ damage estimates also lack foundation. Under these circumstances, the
17
     Court should preclude the IPP Experts from testifying altogether. In the alternative, LG Display
18
     requests that the Court hold an evidentiary hearing outside the presence of the Jury prior to either
19
     expert witness’s testimony to determine the parameters of that testimony, and whether the
20
     testimony has sufficient foundation for presentation to the Jury. See, e.g., United States v.
21
     Crabbe, 556 F. Supp. 2d 1217, 1220 (D. Colo. 2008) (“[D]etermination of the sufficiency of the
22
     7
       Of course, this is even more true of the DPP experts, who have never been disclosed as
23   witnesses in the IPP case, and therefore cannot testify against IPP Defendants. In particular, LG
     Display is not even a party to the DPP case, barring the use of DPP expert testimony against LG
24   Display in any event. The indirect purchaser plaintiffs rely only on the expert opinions of Dr.
     Janet Netz and Dr. William Comanor. See Pre-Trial Conference Statement at 25-26. The direct
25   purchaser plaintiffs rely on three different experts, Dr. Edward Leamer, Adam Fontecchio, and
     Dr. Kenneth Flamm. See id. In addition to being untimely and cumulative, admitting the DPPs’
26   expert testimony in the IPP case would be prejudicial because their testimony—which LG
     Display in particular has never tested—presents conflicting and substantially different findings
27   than the IPP experts. For example, Dr. Leamer claims to have found an average overcharge of
     18.9%, Expert Reply Report of Edward E. Leamer, Ph.D. (Aug. 29, 2011), which is nearly 80
28   percent higher than IPPs’ experts’ overcharge estimates.
                                                 - 13 -                 DEF. LG DISPLAY’S MIL NO. 1 TO EXCLUDE
                                                                                  PURPORTED EXPERT TESTIMONY.
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 1   foundation for admission of expert testimony requires factual findings, preferably after an
 2   evidentiary hearing.”).
 3   III.   CONCLUSION
 4          For the foregoing reasons, the Court should exclude testimony by Plaintiffs’ experts as
 5   discussed above.
 6    DATED: March 13, 2012                        By: /s/Jerome C. Roth
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 7                                                 Jerome C. Roth (State Bar No. 159483)
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                                                   and LG Display America, Inc.
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